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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

                                                  )
                                                  )
                                                  )
 SAMANTHA HENDRICKS
                                                  )
                                                    Civil Action No.: 5:17-cv-2549
                                                  )
                                                  )
                        Plaintiff,
                                                  )
                                                  )
       v.                                           District Judge: John R. Adams
                                                  )
                                                  )
 AMERICAN SHIPPING AND
                                                  )
 PACKAGING, INC., and
                                                  )
                                                  )
 MALIEK D. CARTHORN,
                                                  )
                                                  )
                        Defendants.
                                                  )
                                                  )
                                                  )

        PLAINTIFF’S, SAMANTHA HENDRICKS, MOTION FOR TELEPHONE
                              CONFERENCE

       Now comes Plaintiff, Samantha Hendricks, by and through counsel, and requests a

Telephone Conference with the Court and all counsel. To date, Defendant, Maliek D. Carthorn,

has not yet issued payment due to Plaintiff pursuant to the parties’ Settlement Agreement. Plaintiff

therefore requests a brief Telephone Conference with the Court and all counsel in order to discuss

this issue and court intervention. A Memorandum in Support of this Motion is attached.
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Dated: October 25, 2018                        Respectfully Submitted,

                                               BARKAN MEIZLISH HANDELMAN
                                               GOODIN DEROSE WENTZ, LLP

                                               /s/ Robert E. DeRose
                                               Robert E. DeRose (OH Bar No. 0055214)
                                               Jessica R. Doogan (OH Bar No. 0092105)
                                               250 E. Broad St., 10th Floor
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                                                       jdoogan@barkanmeizlish.com

                                               Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically. Notice of this filing

will be sent by operations of the Court’s electronic filing system to all parties indicated on the

electronic filing receipt. Parties may access this filing through the Court’s ECF system.




Dated: October 25, 2018
                                                      /s/ Jessica R. Doogan
                                                      Jessica R. Doogan
                                                      Attorney for Plaintiff




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    MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION FOR TELEPHONE
                          CONFERENCE
       On September 10, 2018, Plaintiff’s counsel, on behalf of all parties, filed with this Court

a Joint Motion to Approve Settlement (Doc. # 16). Attached to that Motion as “Exhibit A” was

the parties’ executed Settlement Agreement and General Release (“Agreement”) (Doc #16-1).

The Agreement was executed by Plaintiff on September 7, 2018 (Doc. #16-1, PageID 125), and

was executed by Defendant on September 5, 2018 (Doc. #16-1, PageID 121). This Court entered

the agreement into the record by issuance of the September 14, 2018 Order granting the Joint

Motion to Approve Settlement (Doc. #17).
       Pursuant to the Agreement, Defendant was to issue payment to Plaintiff in the amount of

four thousand five hundred dollars ($4,500.00), to be issued within thirty (30) days of the

execution of the Agreement. (Doc. #16-1, PageID 118-119). The payment due date, under the

terms of the Agreement entered by this Court was October 7, 2018.

       Plaintiff, in an effort to avoid additional attorneys’ fees and intervention by this Court,

has given significant leeway in regard to the payment due date. Plaintiff’s counsel did not reach

out to Defendant’s counsel to inquire about the delay in payment until more than thirty (30) days

from the date of the Court’s approval of the Agreement. On October 16, 2018, Plaintiff’s counsel

spoke to Defendant’s counsel by phone to inquire as to the delay. At that time, Defendant’s

counsel indicated he would contact Defendant to inquire as to the delay and would return a

phone call or email to Plaintiff’s counsel. On October 17, 2018, having heard no response from

Defendant’s counsel, Plaintiff’s counsel again attempted to contact Defendant’s counsel by

phone. Receiving no response to that call, Plaintiff’s counsel called again on October 18, 2018

and followed up with Defendant’s counsel by e-mail. Late in the day on October 18, 2018,

having received no response from Defendant’s counsel Plaintiff’s counsel informed him by e-

mail this Court would be contacted to resolve the matter if no update was provided.

       After hours on October 18, 2018, Defendant’s counsel responded to Plaintiff’s counsel’s
e-mail requests for a status update, indicating that this issue was not a priority and indicating he

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had not yet heard back from Defendant as to the reason for delay. On October 19, 2018

Plaintiff’s counsel responded to defense counsel’s e-mail and asked for an update as to the status

of the check no later than 12:00 PM on that date. On October 19, 2018 at 9:32 AM, Defendant’s

counsel left a voicemail for Plaintiff’s counsel indicating Plaintiff’s counsel could “call

whomever [she] desired” or “submit whatever [she] so desired” and that “doesn’t make [him] do

it faster” as well as citing issues with issuance of a check less withholding to Plaintiff due to

Defendant no longer owning the company, American Shipping and Packing, Inc., an issue that

had never been previously raised throughout the settlement process or during the drafting of the

Agreement. In that voicemail, Defendant’s counsel also indicated his client would provide a

check date and check number as an update. On October 19, 2018 at 10:02 AM, Plaintiff’s

counsel responded to defense counsel’s voicemail by e-mail, asking that further communication

occur by e-mail, and asking for confirmation that his client would be providing the check date

and check number as a status update. On October 22, 2018 at 1:53 PM Plaintiff’s counsel

followed up as to the status of the check, and a response to the October 19, 2018 e-mail. To date,

Defendant’s counsel has not responded by phone or e-mail, nor has Plaintiff received her check.

       Since neither Defendant nor Defendant’s counsel has presented any updates or

information as to what has caused the delay further, Plaintiff is left with littler recourse other

than a request for this Court to intervene. Communication between the parties has clearly broken
down. Plaintiff therefore requests a Telephone Conference for this Court to review the facts as

set out above and enforce the Agreement entered by this Court.




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Dated: October 25, 2018                        Respectfully submitted,

                                               BARKAN MEIZLISH HANDELMAN
                                               GOODIN DEROSE WENTZ, LLP

                                               /s/ Robert E. DeRose
                                               Robert E. DeRose (OH Bar No. 0055214)
                                               Jessica R. Doogan (OH Bar No. 0092105)
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                                               Attorneys for Plaintiff


                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing was filed electronically. Notice of this filing

will be sent by operations of the Court’s electronic filing system to all parties indicated on the

electronic filing receipt. Parties may access this filing through the Court’s ECF system.




Dated: October 25, 2018
                                                      /s/ Jessica R. Doogan
                                                      Jessica R. Doogan
                                                      Attorney for Plaintiff




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